When one makes a motion to amend it is not filed until the amendment itself is filed separately. When a motion for more specific statement is ordered, such a statement must be filed. However, allegations expunged are out of the case for all purposes. Colvin v. Peck, 62 Conn. 155, 158. Granting that it is easier for pleader and the trier to have the allegations left in one pleading, it is nevertheless so that an amendment waives right to review of action on original pleading.Antman v. Connecticut Light  Power Co., 117 Conn. 230, and see Pettus v. Gault, 81 Conn. 415.
Notwithstanding the foregoing, I shall not order a default but allow two weeks for a pleading, because of reasonable grounds for believing that an amendment should be filed. Moreover, it appears that this is to be a court case, and no improper allegations are in danger of receiving value.
   Motion denied.